       Case 2:10-cr-20333-MFL-MKM ECF No. 47 filed 09/25/20                    PageID.217       Page 1 of 1
 MIE 3                                Order of the Court to Recall Summons
 Revised 07/12
                                    UNITED STATES DISTRICT COURT
                                                  for the
                                        Eastern District of Michigan


 UNITED STATES OF AMERICA

                  v.

 NORTHY, Scott Allen                                                  Crim. No.: 10-CR-20333-01

On 03/18/2020 the Court authorized a summons for supervised release violation charge(s).
          The probation department is recommending that the summons be recalled.


 Reviewed and Approved:                                        Respectfully submitted,

 s/Russell W. LaForet                                          s/Deon McQueen
 Supervising United States Probation Officer                   United States Probation Officer

                                            ORDER OF THE COURT

                 Pursuant to the above, it is ordered that the pending violation matter be resolved and
                 supervision in this case be continued. All conditions imposed at the time of
                 sentencing, along with any subsequent modifications to those conditions, remain in
                 effect.

                       Dated this 25th Day of September, 2020.



                                                                 s/Matthew F. Leitman
                                                                 Matthew F. Leitman
                                                                 United States District Judge

cc: U.S. Marshal
